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 287.       Successor-in-lnterestdoesnotrecord itsN oticeofnegotiated benefcial

interest,
        -ergo,

288.        Assignorappearson the M ERS* system m aintaining its position ofpriority,

righttitle and interest,afterconveyance ofallrighttitle and interestisaccepted by

Successor-in-lnteresta/k/aA ssignee,a situation representativeofthisinstantcase;

289.        in theeventSuccessor-in-lnterestisaM ERS* M em berand doesup-datethe

currentM ERS*eleckonicregistration system (M ILESTONE REPORT) showingthe
negotiation ofbenefk ialinterest,butlacksproperreceiptforsaid Closing-Docum entsEs>

opensthe doorto Stellionate,orDouble-Dipping by third parties.

290.        TheM ERS* system am ountsto privatelawm aking bypassesthe protections

ofstate law and createsanew scheme ofgovernance solely forthe benetitofitsinvestors.

291.        Tw o or m ore affiliated businesses,like M ER S* and M ER SC O RP constitute a

tçsingleemployer''maybeheldjointlyandseverally liableforviolationsundertheW AltN
A ct.See W ARN A ct.Pearson v.Com ponentTech Corp.,247F.3d471,478(3d Cir.
                                                    .




2001).




                                glntentionally leftblank)


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                                       V.
                               NA TURE O F ACTIO N


292.         Petitionerre-allegesand affirm seach and every preceding pnrnv aph ofthis

Com plaintand incop orate sam e here asifalleged anew   .




293.         Thisisa civilaction for,interalia,AUROR A filing a sham Action against

Petitionerin CaseNum ber50 2009 CA 017057 X XXX M B Division AW , IN TI4E

CIRC UIT C O U R T OF '17dE FIFTEEN TH JU D IC IA L C IR CU IT , IN Ar     FOR PM M

BEA CH COUNTY,FLORID A ;

294.        A URORA com ing into Courtw ithoutClean-H ands,supra;

295.        D efendantAURORA com esinto Courtwith whatitclaim sisa copy of

Petitioner'sProm issorp N oW ,which isaForgery, U.C.C.53-302;as,

296.        Petitioner'ssignature isnotfound on AUROR A'Scopy ofthealleged copy of

Petitioner'sNOTE in question IAIJRORA'SExhibit);
297.        Petitionerdeniesthesignature found on AUROR A'Scopy ofthe alleged

NOTE isauthentic,U.C.C.j3-308.
298.        Petitioner com plains aboutA U R O R A fabricating colorable assignm ents in

ViolationofTitle 11,28U.S.C.5157etseq.;altem atively isExtrinsicFraud;
299.        AUROR A recording an Assignmentofreal-estatew ith the Clerk ofaCourtas

primafascia evidenceinorderto show Standing,wherebyLE                 BROTC RSBANK
FSB isthe OriginalLenderisan A ctoflnkinsicFraud, by Uttering.



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300.         < RS*byway ofitsalleged CertifyingOfficers(non-Attom eys)isinforming
the courtM ERs* etal. transferred adebtfacilitated by a verified A ssignm entof

Petitioner'sproperty contem poraneously with aBankruptcy proceeding, did do so tw ice.

301.        Petitionercom plainsAURORA and M ERS* etal., separately orseverally

assigned a M ortgage in w hich neitherA U R O R A norM ER S* has law ful, legal, noran

equitable interestin,did do so tw ice.

302.        PetitionercomplainsAUROR A and M ERS* etal., separately orseverally

assigned Petitioner'sNOTE in which neitherAURORA norM ERS* hasany beneficial

interest,did do so twice;whereby,

303.        M ERS* operationa1proceduresm anualand corporate by law spreclude
                                                                     -




M ERS* from transferring aBeneficial-lnterestin adebt.

304.        Petitionercom plainsM ERS* etal.seem ingly assigned Pow er of-Attorney to
                                                                          -




AURORA w ithoutthelegalcapacity to do so,absentPower-of-Attorney orsim ilar

authorization from M aker,to Lender,its successor, orassignee thereof,to M ER SX.

305.        UnjustEmiclzment,orUsurywherebyAURORA isaThird-partp Debt-
Collectorin itsrelation toPetitioner,allegedlypurchasedPetitioner'sdebtforTen(10)
FederalReserveNotesCTRN''),seekingto forecloseon aM ortgage-NoW /Home;
306.        valueoftheNOTE Six-Hundred-and-Fiftp Thousand ($650,000.00),ofwhich
AURORA hasalready collectedEil l-œ e-Thousand-one-Hun/ ed-n io ,76/100
($81,130.76)inrent;


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307.         Eil l -one-Thousr d-one-H> dred-n io ,76/100 ($81,130.76)in rent,
legally belongsto D onor'sestate.

308.         Usury,Lex Anastasianaj369,based on AURORA'Spurchaseprice,is
actually dueTen FlG s,G*...andothergood and valuablecoaW/erlfftm'g(to be
discovered),pluslawfulinterestthereon,ifvindicated;however,
             ln a Debtor'sRICO action againstitscreditor,alleging thatthe
             creditorhad collected an unlawfuldebt,an interestrate(where
             a11loan chargeswereaddedtogether)thatexceeded,in the
            language oftheRICO Statute,çttwice theenforceablerate.''The
            Courtfotmd no reason to impose a requirem entthatthe
            Petitionershow thatthe Defendanthad been convicted of
            collecting an tmlaw fuldebt,nmning aiiloan sharking''
            operation.Thedebtincluded the factthatexaction ofausurious
            interestrate rendered the debttm law fuland thatis a1lthatis
            necessary to supportthe CivilRICO action.D urante Bros.&
            Sons.Inc.v.Flushine Nat:1Bank 755 F2d 23% Cert.
            denied,473 US 906(1985).
309.        AURORA wasrepresented by a law Firm in each ofthe herein above

m entioned legalA ctions,knew ,A URORA isnottheoriginalLender;

310.        A UR O R A lacked Standing atcom m encem ent,ergo fabricated untim ely

colorable assignm ents,absenta legalfoundation;

311.        AU R O R A recorded said A ssignm ents w ith the C lerk ofthe Courts in orderto

show an interestin Petitioner'sproperty,tw o distinctand separate acts ofU ttering;

312.        AURORA isattempting to comm itan actofLarceny againstPetitioner, and

otherAm ericanssim ilarly situated,undersim ilarcircum stances;




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313.         AURORA'Sattem pted Larceny againstPetitioner,and thoseofothers

sim ilarly situated,employ a corruptlaw Firm;

314.          com zptlaw Firm facilitatessaidLarceny by employingthejusticesystem;
315.         A U R O R A is slandering Petitioner's Title and others sim ilarly sim ated;

316.         AURORA D efam ed Petitioner'sCharacterand the characterofothers

sim ilarly situated by providing un-verified information to third party reporting agencies;

317.         A URORA hasdam aged Petitioner'screditand othersim ilarly situated;

318.         M entalM guish orEm otionalDistresscaused by AUROR A etal.

319.         D efendantLEHM AN BRO THER S BAN K FSB steered Petitionerinto an

lnvestm ent-contractasan undisclosed investor,third-partp Benetk iary using Petitioner's

N O TE and the N O TES ofotherA m ericans sim ilarly situated;

320.        N OTEStraded from hand to hand,used sam e asm oney,to finance said

lnvestment-company;how ever,

321.        Donorholdsa Possessorp lnterestin theN OTE a/k/a Security a/k/aBOND , or

any instrum entstem m ing from the NOTE,asdo otherssim ilarly situated hold apossessory

interestin their respective N O TE;

322.        AURORA violatedtheFDCPA,Title 15U.S.C.j 1692etseq;
323.        AURORA'SviolationofTelephoneConsumerProtectionAct(TCPA)1991;
324.        AUROM 'Sviolation ofSECURITIES ACT OF 1933- 1934;




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325.         OriginalTrustee,A SSOCIATES LAND TITLE lN C 'Sviolation ofTitle 12

U.S.C.j1813(L)(1),asaco-conspiratortocommitLarceny,failed toprovideareceiptto
D onor atC losing forthe Prom issorp N o 'rE /M oneyi*), ergo conceaje(jjt;

326.        D efendantA U R OR A em ploy M ER S* as partofits on going crim inal

entem rise,asan artifk eorStrawm an in orderto hidewho the Real-partp in-lnterestis;

327.        Forei> -unincom om ted-Association,a/k/a aCom m on-Law Trust,founded in

the State ofN ew York,LEHM AN X S TRU ST M ORTGAGE PA SS-TG OUGH

CERTIFICATES SERIES 2006-11holding M aker'salleged debtisnota statutory person

asthatterm isdefinedunderFloridalaw;SeeFloridaCode(2005)Chapter622 etseq.
328.        Petitionercom plainsofNotarialM isconduct,dereliction ofduty is alleged,

causing Petitionertinancialharm ,M entalAnguish and Em otionalD istress;

329.        V ariestypesofFraud,including butnotlhnited to,m ailfraud,w ire fraud,

m ortgage fraud,civilfraud,intrinsicfraud,extrinsic fraud,collateralfraud,uttering,

fraudulentfactum ,and constructive fraud;furtherm ore,

330.        Petitionercom plainsLender,itsSuccessor,orAssignee thereofdid not

presentPetitioneraNoticeofBreach priorto Acceleration,pursuantto param aph 22 ofthe

M ortgage lnstrum ent;and,

331.        Petitioner seeksR ecoupm ent.




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                                     W .FA CTS

332.         Petitionerre-allegesand affirmseach and every preceding pam graph ofthis

Complaintand incorporate sam ehere asifalleged anew .

333.         Betw een July lSt2006 and July 31St2006 certain Verified Conkolling-

Docum entsë*lw ereexecuted between the following parties, LE        BROTHERS

BAN K FSB,asthe Originator,LEIIM AN BROTHERS HOLDINGS INC,asthe Selleror

Sponsor,STRUCTURED ASSET SECURITIES CORPORATION ,asthe Purchaser/

D epositor,LA SM LE B AN K N A TION A L A SSO C IA TIO N asthe Trustee, AU RO R A

LOAN SERVICES LLC asthe Servicer,created,in part,an Unincom orated-Association,

referred to in New York asa Com m on-Law Trust,a/k/a REM IC , w hich required

Petitioner'sN OTE and theN o'rEsofotherssim ilarly situated forits fotmdation, whether

Petitionerwascogniznntofthisfactatthattim eornot.

334.        Onesuch Veritied Controlling-DocumentofsaidREM IC (LEHM AN XS
TRUST M ORTGAGE PASS-THROUGH CERTIFICATES,SERIES2006-11),on file
w ith the Securitiesand Exchange Com m ission,istitled M ORTGAGE LO AN SALE AND

A SSIGNM EN T AGREEW N T,dated asofJuly 1,2006, by and betw een LEH M AN

BROTHERS HOLD m GS IN C,assellerorSponsor,executed by M ichaelHitzm ann;for,

335.        STRUCTURED A SSET SECURITIES CORPOR ATION , asPurchaseror

D epositor,executed by Ellen V .K iem an;




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336.        LEH M AN BR O TX R S BA N K FSB w as nota signatory to said

M ORTGAGE LOAN SALE AND A SSIGNW N T AGREEW N T,asitalready consigned

a11right, title and interestofPetitioner's W et-prom issorp N o -fE oloverto LEHM AN

B RO THER S H O LD IN G S IN C atC losing,as a presale,articulated w ithin said

M O RTG A G E LO AN SA LE A r      A SSIG N W N T A G REEW N T,see Section 1.01,Sale

ofM ortgageLoansinfra;
337.        Concurrentwith execution ofsaid M ORTGAGE LOAN SA LE Ar

A SSIGNM EN T AGREEM EN T wasexecution ofa Verified Controlling-Docum enttitled

ESTR U ST A G REEM EU '';

338.        Controlling-D ocum enttitled CCTRU ST A G REEM EN T,''dated July 1St2006,

on filewiththeSecuritiesand ExchangeCommission,in part,created aForeign @ ew
York)Unincorporated-Association titledLEHM AN XS TRUST M ORTGAGE PASS-
THROUGH CERTIFICA TES,SERIES 2006-11,executed by Ellen V .Kiem an for

STR U CTU RED A SSET SEC U RITIES C OR PO R ATION ;

339.        This Conkolling-D ocum enttitled TRU ST A G REEM EN T is executed by

Susan L.Feld forLA SALLE BAN K N ATION M ASSOCIATION asTrustee,in trustfor

theBeneficiary;

340.        ThisControlling-Docum enttitled TRU ST AGREEM EN I',executedby Jerald

W .DreyerforAURORA LOAN SERVICES LLC,asServicerorM aster-servicer,

w hereby AU ROR A acquired Superior-Know ledgec'l;



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341.        This Controlling-D ocum enttitled TRU ST A G REEM EN T executed by

M ichaelllitzm ann forLEHM AN BROTX RS HOLDINGS INC,isexecuted solely for

puposesofSection 11.15,TransferofServicing trightsl;


342.        Concurrentwith execution ofsaid M ORTGAGE LOAN SM E Ar

A SSIGNW N T AGREEG N T,TRU ST AGREEM EN T,isaVeritied Controlling-

D ocum ent,on 5le with the Securitiesand ExchangeCom m ission,titled ECSERV ICW G

A GREEM ENT''entered into asofJuly 1512006,by and am ong LEHM AN BROTHERS

HOLDINGS IN C.,as Sellerand AURORA LOAN SERVICES LLC , in its capacity as

prim ary Servicer,and AUROM    LOAN SERVICES LLC , in itscapacity asM aster

Servicerunderthe TR U ST A G REEW N T.



343.       DefendantAURORA LOAN SERW CES LLC wasdesignated asPetitioner's

Servicer,orM asterServicer,dutiesto comm enceon orafterNovember15tb2006 (post-
Closing);SeeiiExhibitF''hereto attachedand incorpomtedherein by referencewherein is
foundthisfollowing statement;aTheassignment,saleortransferoftheservicing ofthe
mortgageloan doesnotJffec/any 'er- orcondition ofthem ortgageinstruments,other
than termsdirectly relatedto theservicing ofyourIoan.''




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344.           LEHM A N BR O TH ER S BA N K FSB sold or assigned to A U R O R A its rightto

Service Petitioner'sdebt,gavePetitionerNOTICE to thateffectbutdid notgiveN OTICE

toPetitionerasto achangeofCreditorl3l,5559.715;assuch,
345.          D ischarge ofdebt,rescission ofLim ited-power-of-Attom ey orany and al1

negotiation which took placebetw een Petitionerand LEHM AN BROTHERS BAN K FSB

priorto its Bankruptcy is in fullforce and effect;as,

346.          N O TICE to Petitionerasto a change ofCreditoris a condition precedentto

thecollection ofsaid debtby said Creditorfollowing such an assignment,applieson its

faceto allentitiesreceiving an assignm entofconsum erdebt;theterm tçconsum erdebt''is

definedbroadly;seeSection 559.55(1),Fla.Stat.


Regulation Z;Sec.226.39M ortgagetransferdisclosures.

(a)Scope.Thedisclosurerequirementsofthissection applytoany coveredperson exceptas
otherwiseprovided in thissection.F@rpurposesofthissection:

(1)A GGcoveredperson''meansanyperson,asdermed in j226.2(*(22),thatbecomestheowner
ofan existing m ortgage loan by acquiring Iegaltitle to the debtobligation,w hether through a
purchase,assignmentorothertransfer,and wh@ acquiresm orethan one m ortgageloan in any
tw elve-m onth period.For purposes of thissection,a sea icer ofa m ortgage Ioan shallnotbe
treated asthe owner ofthe obligation iftheservieerholdstitletotheloan.ortitleisassigned to
the servicer,solely forthe adm inistm tive convenience ofthe servicer in sea icing the obligation.

(2)A tçmortgageIoan''meansanyeonsumereredittransactien thatissecuredby theprincipal
dw elling of a consum er.

(b)Dlclosurerequired....anyperson thatbecomesacovered person asdermed in thissection
shallm allor deliverthe disclosuresrequired by thissection tothe consum er on orbeforethe30th
calendarday following tEeacquisition date.Ifthere ism orethan onecovered person,only one
disclosureshallbegiven and thecovered pen onsshallagree among them selveswhich covered
person shalleomply with therequirem entsthatthissectitm im poseson any orallofthem .



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347.        Petitioner'sdebtisdischarged byway ofnegotiation w ith LE

B RO THER S B AN K FSB ,done in good faith,priorto its Bankruptcy,notcognizantas

to a change in Legal-Title to Petitioner'sD ebt-o bligation orM ortgage-Loan;w hereby,

348.        D efendant,AURORA LOAN SERVICES LLC,atalltim esrelevant,indicated it

w ascollecting a debtpurportedly owed by Petitionerto LEHM AN BROTHERS BAN K FSB.

349.        W hen in factLEH M AN B RO THER S B AN K FSB sold its right,title and

interestin Petitioner'sM ortgageLoan to LEHM AN BROTHERS H OLDING S INC which

w assubsequently constructively sold to STRUCTURED A SSET SECURITIES

CORPORATION ,which wassubsequently constructively conveyed to LEHM AN XS

TRU ST M ORTGAG E PA SS-THROUGH CERTIFICATES,SERIES 2006-11;

350.        Petitionerdid notreceive Notice asto achange ofCreditorto Petitioner's

D ebt-o bligation orM ortgage-Loan;ergo,

351.         LEFIM AN BROTHERS BAN K FSB 'Sdebtisdischarged;said eventisa

m atterofpublic record priorto LEHM AN BROTHERS BAN K FSB'Spetition for

protection underChapter 11Bankruptcy.

352.        Petitioner,asBorrowera/k/aM aker,a/k/aD onor,atClosing,unilaterally

appointed M O RTG A G E ELECTRO M C REG ISTR ATION SY STEM S IN C as N om inee

forLEIIM A N B RO TH ER S B AN K FSB ;

353.        M ERs*asN om inee isto actin avery lim ited capacity, in nam e only,as

M ortgagee ofrecord,forthe benefitofLEI-IM AN BROTIIERS BAN K FSB;



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354.          LEH M AN B RO THER S BA N K FSB ata1ltim es relevantis acting forthe

benetk ofthe Donor;however,

355.          M ORTGAGE ELECTROM C REGISTM TION SY STEM S m C did not                 .




acceptBorrow er'stmilatel'alappointm entasN om ineenorM ortgagee by indorsem ent141;

356.          unilateralappointm entasN om inee orM ortgagee ispresum ptively accepted

by M ER S* w ithoutany consideration attached thereto.

357.          AU ROM      LOAN SERVICES LLC on M ay 15th 2009 tiled aforeclosure

action in itsown nam e,foritsown benefit,claim ing to be theReal-partp in-lnteresta/k/a

the Creditorin CaseN um ber09 CA 017057,in the FiAeenth JudicialCircuit;

358.          Petitionertim ely Gled a M OTION TO D ISW SS based on procedure, issues

ofCom mon-Law ,Standing and AIJROM 'Sclaim to a Lost-N OTE;

359.          to the day,oneyearlater,withoutany intervening activity lS1AU RORA held

a H earing on itsM O TIO N FO R LEA V E TO FILE A W N DED CO O LA IN T;




î4lTo declare Petitioner as borrow er, lacksthe capacity to nom inate orincludea third party to
enterinto an agreem entbetween theparty ofthenrstpartand party ofthesecond partwithout
third party's indorsem entto said agreem ent.
l5lW hilePetitioner'sM OTION TO DISM ISS ispending in CaseNum ber09 CA 017057 AURO RA
                                                                             ,
didlleacomputergeneratedboiler-ylateM otionforSummaryJudgment.whichwasnevercalled
for aH earing,asitw asa frivolousfihng ab faf//@,asthere isa genuineissue ofm aterialfactyet
unresolved,furthermoreAURORA failedtosatisfyFIa.R.CiV.P.1.510(e).

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360.         attached to AIJRORA LOAN SERVICES LLC'SUn-verified AW NDED

C OM PLA IN T m ailed on orshortly afterM ay 6th 2010,is an Exhibittitled CO R PO R ATE

A SSIGN W N T OF M ORTGAGE,executed by THEODORE SCHU LTZ,asVice-

PresidentofM ER S*;

361.         THEOD O RE SCHULTZ, V ice-presidentofM ERS* isalso AssistantVice

PresidentofAURORA LOAN SERV ICES LLC,atalltim esrelevantherein;

362.         A U R O R A LO A N SER V ICES LLC ,atal1tim es relevantherein,is a

subsidiary ofLEHM AN BROTHERS BAN K FSB priorto itsBankruptcy;

363.         THEODORE SCHU LTZ acting in the capacity ofVice-presidentofM ERS*

Nom ineeforLEHM AN BROTHERSBANK,FSB,(whilein Bank- ptcy)isallegedtoof
assigned theM ortgage to A UROR A LOAN SERVICES LLC,executed June 8th 2009;

364.        A ssignm entviolatesthe autom atic stay Orderpursuantto Title 11 U .S.C .

Section 362(a)(4);and,
365.        THEOD ORE SCHU LTZ, acting in thecapacity asVice-presidentofM ERS*,

allegedly assigned Petitioner'sNOTE to D efendantAURORA;

366.        A ssignm entofPetitioner'sNOTE iswithoutexplanation asto where,when or

who M ERS* acquired said N O TE from , asM ERS* isnotaparty to theN ote and the

record isbarren ofany representation thatM ERS* had any authority to take any action

w ith respectto Petitioner'sN ote;See çtExhibitH ''hereto attached and incorporated herein

by reference;furtherm ore,



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367.         M ERS* 1acksthe legalcapacity to assign BeneticialInterestin Petitioner's

debt,orotherAm ericanssim ilady sim ated pursuantto < RS* com orate charter, seeM ERS

v.N ebraska D ept.ofB ankine,N o.5-04-786,270 N eb.529,w hereby A ttom ey forM ER S*

aversGM ERS fsnottheownerofthepromissory notesecured by them ortgageandhasno
rights to thepaym ents m ade by the debtor on such prom issory note. R ather,M E RS holds

themortgageIien asnomineefortheownerofthepromissory notg''Attorney forM ERS*
w enton to explain altis importantto understand thatM ER S m ay acquire a legalinterest

in a m ortgage or deed l.ffr- /(asnom i
                                      neefortheactuallender)withoutacquiring any
corresponding interest,legalorbenefcial,in thepromissory notesecured by such deedof
tr- t ThisisbecausethenoteownerappointsM ERS to beitsagentf/on# hold the
m ortgagelien interest,nottohold any interestin thenote.''(Noting;a...noteowner
appointsM ERS to beitsagentw-.''isam iss-statem entoffactasBorrow er appointed

M ER S* astçnom inee,''notas ttagent.''LegalTerm sçinom inee''and çtagent''are not

synonymous.)
368.        TH EO D O R E SCHU LTZ,acting in the capacity as V ice-presidentofM ER S*,

nom inee forthe Lender,lacksthe legalcapacity to assign said M ortgage asM ERS* does

notH old a beneficialinterestin said M ortgage,irrespective ofthe factsaid M ortgage

designates M ER S* asM ortgagee ofrecord;see Lasalle B ank N at. A ssgn v.Lam v,824

N.Y.S.Zd 76% 2006W L 2251721(Sup.2006);




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369.         M ER S* 1acksthe legalcapacity to actunilaterally w ithouta Pow er-of-

A ttorney,or sim ilar authorization in w riting from the Real-pm y-in-lnterest;

370.         M ER S* 1acksthe legalcapacity to do anything w ith respectto said M ortgage,

onceM ortgage isrecorded,howeverseem ingly assigned both M ortgageand theN OTE;

371.         A ssignm entofPetitioner'sM ortgage-N oH isrecorded by Defendant

AURORA in Palm Beach county Florida,the state'sconstitutionally created Offce

occupied by thePublic'sRegistrant;

372.         firstsuch colorable assignm entrecorded on Jtme 111 2009 and then recorded

a second such A ssignm entSeptem ber24th 2009,clouding Petitioner'sTitle ergo

Slandering Petitioner'sTitle;see 15USC 1692(e),by Uttering;as,
373.         both colorable assignm entsm entioned above w ere executed in an tm tim ely

m anner,denying AURORA stnnding atthe inception ofboth cases,supra;see

ProeressiveExp.Ins.Co.v.M cG rath Com m unitv Chiropractic,913 So.2d 1281

(FIa.2nd DCA 2005)9further,
374.        Both colorable Assignm entsm entioned above,isrecorded w ithoutany

evidence ofan assignm entofPow er-of-A ttom ey,orsim ilar authorization given to

M ER S*,See Title M -V ISection 817.02 Fla.Stat.,under CR IM ES.

375.        M ER S* A ssignm entis buta legallooking docum entcreated from w hole-c1oth

forevilpum oses,oneofwhich isto comm itan actofLarceny againstPetitioner'
                                                                        ,




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376.        AURORA isattemptingto commitan actofLrceny usingthejusticesystem
to facilitatetheinjury.
377.        Firstcolorable assignm entis absentM ERS* Corporate Seal, assigmnent

executed by JOANN REIN,July9+ 2008,asVice-president,when recorded (June 11th
2009)istoberetum ed to;JonnnRein,AURORA LOAN SERVICES,P.O.Box 1706,
Scottsbluff,N E 69363-1706;See Exhibitt<A''Assignm entattached thereto;

378.        Second colorable assignm entexecuted by THEOD ORE SCHULTZ,June

81 2009,ExhibitRH ''hereto attached and incorporated herein by reference,once

recorded (September24th 2009)istobereturnedto;ASSIGNM ENT PREP,AURORA
LOAN SERV ICES,P.O .Box 1706,Scottsbluff,NE 69363-1706;

379.        Assignor, < R S* Inc,acting asN om inee forLEHM AN BROTHERS

BAN K FSB,itsSuccessorsand A ssigns,gave itsaddressasseen on one ofthe

assignm entsas113300 S.W .34TH AVEN UE,SU ITE 101,OCALA ,FL 34474.''

380.        N either< RS* norLEHM AN BROTHERS BANK FSB everresided at

3300 S.W .34th A V EN U E,SU ITE 101,O C A LA ,FL 34474,atany tim e relevantto this

action;how ever,

381.        ELECTROM C D ATA SYSTEM S CORPOM TION islocated at3300

S.W .34th AV EN UE,SUITE 101,OCALA,FL 34474,ata1ltim esrelevanttothis

action.




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382.        Petitioner,in response to said colorableassignm ent,tim ely filed M OTION

TO DISW SS AG NDED COW LAINT on M ay 28th 2010,in part,issue ofStanding

andfailuretoVerify Amended Complaint,Rule 1.110(b),filedaherFebruary 11,2010;
383.        overten (10)monthshavepœssed sinceM ay 28th 2010with noactivity on
file;

384.        M arch 29th2010 Notice ofFailureto Prosecute hasbeen filed by Petitioner

in the state's venue,in thatcase;altem atively,

385.        CaseNumber09-CA-017057 w illultim ately beD ism issed forLack-of-

Standing on thedate ofcom m encem ent,sine qua non offoreclosure considering the

A mended ComplaintisnotVeritied;

386.        D efendant'sM otion to D ism iss Am ended Com plaintw as G R AN TED

M arch lSt2012;how ever,

387.        AURORA m ay serve aproperly verifed second am ended Com plaintby

A pril4tb2012;however,

388.        both colorable assignm ents setoverto A U RO R A isexecuted and recorded

post-commencement,(nottaking into considerationthefactLEHM AN BROTHERS
BANK FSB asalleged A ssignordid presalePetitioner'sM ortgage-N o'rE to athird-

party ab initio,intheyear2006);and,




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389.        considering the factLEHM AN BROTHERS BAN K FSB attim e of

comm encement(CaseNumber09-CA-017057,M ay 15th 2009) already tiledfor
B ankntptcy protection underTitle 11,Septem ber 15th 2008;and,

390.        Attom ey ofrecord isthe LAW OFFICE OF DAVID J.STERN P.A .,is

undercrim inalinvestigation by Florida'sAttom ey General;

391.        LA W OFFICE OF D AW D J.STERN P.A .,isfound in Pasco Cotmty

Florida m mm facturing falsedocum entsin a foreclosurecase;

392.        LAW OFFICE OF DAV ID J.STERN P.A .,did com m ita Fraud in that

Courtptzrsuantto awritten opinion.U.S.Bank.N.A.v.Harpster(51-2007-CA-
6684E5)(2010);
393.        David Jam esStem Esquire,PublicReprim and 25th O ctober2002,by

Suprem e CourtofFlorida,beforetheboard ofgovem orsoftheFloridaBAR w am ed

D avid Jam es Stem 'sfuturem isconductw illaffecthisprivilegeto practice law ;

394.        LAW OFFICE OF DAW D J.STERN P.A .,isno longerin operation asof

this date;how ever,

395.        Parties are bound by the form aladm issions oftheirA ttom ey in an A ction.




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396.        Pursuantto the TRU ST A G R EEM EN T on the C losing-D ate ofJuly 31St

2006,STRU CTUR ED A SSET SEC U RITIES C OR PO M TION did acceptB ook-Entry

Certiscatesheldby and through theDepositoryTrustCompanyCçDTC'');
397.        Trust-certificatesisreceived in consideration forSTRUCTURED A SSET

SECU R ITIES CO RPO R A TION hypothecating ofallits righttitle and interestin

Petitioner'sw et-M ortgage-t-oan E*1and the M ortgage-t-oan ofotherssim ilarly situated,

including allotherproperty constituting the TrustFtmd,setoverto LEHM AN X S

TRUST M ORTGAGE PASS-THROUGH CERTIFICATES,SERIES 2006-11,inh'
                                                            a;
See 17 CFR j230.191.
398.        DTC actslike a clearinghouse to settletradesin com orate and m unicipal

securitiesand isthe Registered-ownerofPetitioner'salleged debtby hypothecation;

399.        DEPOSITORY TRUST & CLEARING CORPOM TION CCDTCC'')was
established in 1999 asa holding com pany to combinethe DTC,NationalSecurities

Clearing Corporation,M utualSecuritiesClearing Com ,and the Governm entSecurities

C learing Com oration;

400.        DTCC wassetup to provide an efficientand safe way forbuyersand

sellersofsecuritiesto m aketheirexchange,and thusclearand settletransactions;

401.        DTCC also providescentralcustody ofsecurities;

402.        DTC isowned by m any companiesin the financialindustry,w ith theN ew

York Stock Exchangebeing one ofitslargestshareholders;



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403.          STRU CTU RED A SSET SECU R ITIES CO R POR ATIO N is the

securitization arm ofLEHM AN BROTIIERS H OLD ING S IN C;

404.          On theClosing-D ate ofJuly 31st2006,Special-purpose-v ehicle

STRUCTU RED A SSET SECURITIES CORPOM TION isBeneficiary of N ine-

Hundred-FiAeen-M illion-Four-Hundred-sevenl -Five-Thousr d-seven-Hundred-

Seventp Eight00/100($915,475,778.00)in DTC Book-EntryCertificates;
405.          Trust-certitkatestobesoldto investorls);
406.          lnvestortransacts Trust-certiscate sales/kades w ithin the cop orate

UM TED STATES areallcleared through CED E & Co.,asnom inee ofthe DTC;

concluding,

407.          D TC is actualH older and O w nerofthe debtby hypothecation,held in

Trustforthebeneftofthe Trust-certificate-l-lolder.

408.          September29th 2006 PetitionersignsaM ortgage-N o'rE in favorof

D efendantLEHM AN BROTHERS BANK ,FSB;

409.          D efendantLEHM AN BROTHERS BANK FSB knew form onthspriorto

Petitioner's Closing that,its presale ofPetitioner'sN O TE to LE        BR O TH ER S

H OLDING S INC w asdonew ith the expressed intention ofsecuritizing Petitioner's

W et-M ortgage-Loan onceexecuted,based on the Verified Controlling-Docum entsfled

with the Securitiesand Exchange Com m ission,July 2006;




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410.         thism aterialfactofsecurhizing Petitioner'sNOTE,and itspresalew asnot

disclosed to Petitioner,before,or atClosing;and,

411.         concurrentw ith Petitionerexecuting the W et-M ortgage-Loan,right,title

and interestto said negotiated W et-M ortgage-laoan wasconveyed to LEHM AN

BROTHER HOLDINGS INC,with AURORA'Srightto Servicesame,in conjunction
w ith said TRU ST A GR EEG N T.

412.        LEHM AN BROTHERS BAN K ,FSB isnotthe True-lxnder,asthe W et-

M ortgage-lwoan waspresaleusing M ORTGAGE LOAN SALE ANllA SSIGN G N T

AGREEM EN T asa Forward-contractI*1;

413.        LEIIM AN BROTIIERS BAN K , FSB isaNom inal-Lender(*1,iyjyjttlyytj

only,w ithoutrighttitle nor interestatClosing,before the ink dried on Petitioner's once

wetink signature;

414.        NOTE reads,inparq GIunderstand thattheLenderplm?transferthis
Note''(Theword Gmay''imply somefutureeventwhich hasnotyetoccurred.)
415.        Petitionerdid notunderstnnd atthattim e,norinfonned the W et-M ortgage-

Loan w as in factalready been constructively negotiated,before the irlk dried;

416.        PresaleofPetitioner'sN OTE isin conflictwith whatPetitionerw aslead to

believe;asPetitionerwasinformed(by broker)oncethedebtwasdischargedsaid
Prom issorp No'rE would beretum ed astheN OTE w asheld asa Special-Deposit;as,




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417.         Special-D epositofaProm issorp N o'rE hasbeen the custom in this

Country forHundredsofyearspriorto securitization;as,

418.         Petitioner,and otherA m ericans sim ilarly situated hold a Possessory-

Interestin theirrespective Prom issorp N o -fE;itappears,

419.         Petitioner,and otherssim ilarly situated were steered into an Investm ent-

Contract,w ithoutPetitioner'sknow ledge,orconsent;

420.         Petitionerhasdiscovered and contendsto be an undisclosed investorupon

thepresale oftheN OTE,w hich created,in part,the foundation ofan lnvestm ent-

C om pany'
         ,

421.         Petitioner,and otherA m ericans sim ilarly situated is a Third-partp

B eneficiary E*1tm derthe TRU ST A G R EEG N T by externality;see H O R A C E vs.

LASALLE BANK N.A.(M arch2011).
422.         ForpurposesoftheSecuritiesAct,an investment-contract(undefinedby
theAct)meansaconlact,transaction,orschemewhereby aperson investshismoney
in a com m on enterprise and is1ed to expectprofitssolely from the effortsofthe

prom oterorathird party,itbeing im m aterialwhetherthe sharesin the enterprise are

evidenced by form alcertifk atesorby nom inalinterestsin the physicalassetsem ployed

in the enterprise;




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423.         lnvestm ent-contract,embodiesa flexible,ratherthan a static,principle,

one thatiscapable ofadaptation to m eetthecountlessand variable schem esdevised by

thosewho seek the use ofthe m oney ofotherson theprom iseofprofits;

424.         N ovel,uncom m on,orirregulardevices,whateverthey appearto be,are

also reached ifitbe proved asm atteroffactthatthey w erewidely offered ordealtin

underterm s orcourses ofdealing w hich established theircharacter in com m erce as

investm entcontracts,orasany interestorinstrum entcom m only known asa secm ity;

425.         Novel,uncom m on,orirregulardevices,whateverthey appearto be are

reachablewithin said M ORTGAGE LOAN SALE AN D A SSIGN W N T

AGREEG NT,in conjunctionwith theTRUST AGREEW NT,and SERVICW G
AGREEM ENT,dated asofJuly lst2006.See SEC v.H O W EY C O .,328 U.S.293

(1946);
426.         DEFENDANT actingjointly orseverally,devisedaschemewhereby
M ERs* could obscurethe factPetitioner'sN OTE, and theN o'l'
                                                           EsofotherA mericans

sim ilarly situated,would ultim ately becom e a collateralized interestin M ortgage-

Backed Sectuities,hypothecated forTrust-certificatesissued by the DTC,sold by

CED E & Co,oritsauthorized agentto investorsforan instantgain;

427.         Petitioner's N O TE,and the N O TES ofothers sim ilarly situated is

recognized by the StateofFlorida,and the U .C.C .asa Security,prem isesconsidered,

fallsw ithin fourcom ersofthisterm ,lnvestm ent-contract;



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428.        Investm ent-com pany,LEHM AN X S TRU ST M ORTGAGE PA SS-

THROU GH CERTIFICA TES, SERIES 2006-11,isfounded on D onor,scorpus(*1an(j

the corpus ofotherA m ericans sim ilarly sim ated.

429.        Finding Petitioner,and otherAm ericanssim ilarly sim ated were steered

into an Investm ent-contract,as tm disclosed investors,isa m aterialfactw hich

signifcantly altersthelandscape(no meetingoftheminds);
430.         DefendantLEHM AN BROTHERS BAN K FSB orA SSOCIA TES LAe

TITLE,Inc,ifhad aduty to speak and disclose said lnvestm ent-contractatClosing,

theirsilenceisFraud;SeeU.S.v.Tweel550F.2d.297,299,300(1977);as,
431.         thetruenam reofaA nsaction dependsupon the intention ofthe parties.

432.         Petitioner,and otherAm ericanssim ilarly situated asundisclosed investors,

Third-partp Beneficiary isentitled to Recoupm ent,and isentitled to share in theprofit

generated from said investm ent-contract;

433.         Recoupm ent,com pensative w ith the value placed on Petitioner's

Transaction-A ccounta/k/a D em and-D eposit,on the Liability side ofthe B ank's/

lnvestor'sBooks,asthe source ofthem oney which funded the investm entschem e,ab

lnltlo.

434.         Petitionerpointsto the Verised public docum entsfiled w ith the Securities

and ExchangeCommission,namely thetTRUST AGREEM ENX ''which clearly
articulatesC hain-of-Title to Petitioner'sM ortgage-N o rfE,and others sim ilarly situated;



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435.        Veritied disclosureundersaid TRUST AGREEM EN T indicatesD efendant

AUROR A isattem pting to com m itan actofGrand-Larceny,Stellionate,orDouble-

Dipping-
       ,as,

436.        Registered-llolderofPetitioner'salleged debt,and otherssim ilarly

situated isLEI'
              IM AN X S TRUST M ORTGA GE PA SS-TG OUGH CERTIFICA TES,

SERIES 2006-11'sTrustee,in TnzstfortheCertifk ate-llolder,pursuantto thelaw of

the case,the TRU ST A G REEM EN T;and,

437.        lnvestorts)purchaseda1lright,titleandinterestto said debt;
438.        debtheld asthe collateralinterestin certain M ortgage-Backed Securities;

439.        controloverM ortgage-Backed Securitiesisim m obilized in said Trust,

pursuantto the Controlling-Docum ents,in partasfollow s;

440.        ThisTRUST AGREEM ENT (tt-frustAgreemenf'),datedas
            ofJuly 1,2006(thetW greement''),isbyandamong
            STRUCTURED ASSET SECURITIES CORPOM TION ,a
            Delawarecom oration,asdepositor(theRDepositor''),
            A U R OR A LO A N SER V ICES LLC ,asm aster servicer
            (thetçM asterServicero),andLASALLE BANK NATIONAL
            ASSOCIA TION ,a nationalbnnking association,astrustee
            (thett-frustee'').

                          PR ELIM TN A RY STA TEG N T

           TheD epositorhasacquired theM ortgageLoansfrom the Seller, and
           atthe Closing D ate isthe ow ner ofthe M ortgage Loans and the other
           property being conveyed by itto the Trustee hereunderforinclusion
           in the TrustFund.O n the Closing D ate,the D epositorw illacquire the
           Certificatesfrom theTrustFund asconsideration foritstransferto the
           TrustFund ofthe M ortgageLoansand theotherproperty constim ting

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            the TrustFtm d.TheD epositorhasduly authorized the execution and
            delivery ofthisAgreem entto provide fortheconveyance to the
            Trustee ofthe M ortgage Loans and the otherproperty constituting the
            TrustFtmd.A11covenantsand agreem entsm ade by the Sellerin the
            M ortgage Loan Sale A greem entand by the D epositor,the M aster
            Servicerand the Trusteeherein with respectto the M ortgageLoans
            and the otherproperty oonstituting the TrustFund are forthe benefit
            oftheHoldersfrom tim e to tim e ofthe Certiscatesand to the extent
            provided herein,the Swap Countem arty.TheDepositor,theTrustee
            and the M asterServicerareentering into thisAv eem ent,and the
            Trustee isaccepting theTrustFtmd created hereby,forgood and
            valuable consideration,thereceiptand sufficiency ofwhich are
            hereby acknow ledged.


(JudicialNoticeshouldbetaken here,thatthisdisclosureabove;aTheDepositorhas
acquired theM ortgageLoansfrom theSelIer...''thisconstructiveexcerpttaken from
theTRUST AGREEM ENT dated July 1St2006 isNinety(90)dayspriortotheday upon
which Petitioner'sM ortgage-N o'l'
                                 E w asexecuted,thereafterM ortgage-N o'l'E isto be

conveyedto said Trust,wlzichisSixty(60)daysafterSTRUCTURED ASSET
SECURITIES CORPOM TION isBeneficiary of N ine-Hu / ed-FiAeen-M illion-Four-

Hundred-sevenl -Five-Thousr d-seven-Hun& ed-sevenl -Eil t00/100
($915,475,778.00)in DTC Book-Entry Trust-certifcates,tobesoldtoinvestors,
collateralized interestfotmded upon hypothecation ofPetitioner'sW et-M ortgage-Loan,

andthoseofotherAmericanssimilarly situated).(Swap Counterparty isanaloguesto an
insurer-l




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                                      V II.
                   V ERIFIED D O CUM EN TED CH M N O F TITLE


441.         Septem ber29tb2006 Petitionerdid execute a M ortgage-No'rE in favorof

LEIIM AN BROTHERS BAN K FSB,and then setoversaid M ortgage-N oTE;

442.         Petitioner,and otherBorrowerssim ilady situated attim eofClosing

unilaterally appointM ER S* asM ortgagee ofrecord;but,

443.         M ERS* doesnotacceptsaid appointm entby indorsem ent, nordoesany

consideration attach thereto;

444.         Petitioner'sM ortgageisrecorded on October 111 2006, in Palm B each

County Florida,wherein liesPetitioner'simm ovableproperty;

445@         July 1St2006(priortotheexecution oftheM ortgage-NoTElan agreement
isreached titled GCM ORTGA GE LOAN SALE M D ASSIGN M ENT A GREEW NT''

w hich isasold-foreword-contract,presale;

446.         M ORTGAGE LOAN SALE AN D A SSIGNM ENT AGREEW N T is

executed by M ichaelHitzm ann,asAuthorized Signatory forLEHM AN BROTHERS

H O LD IN G S IN C ;

447.         M ORTGAGE LOAN SALE Ar          A SSIGNW N T AGREEW N T,for

STRU CTURED A SSET SECURITIES CORPOM TION isexecuted by Ellen V .

Kiem an,SeniorV icePresident;




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448.         AUROM       is nota Signatory to this w ritten agreem enttitled M O RTG A G E

LOAN SALE Ar        ASSIGN W NT A GREEW NT;

449.        M ORTGAGE LOAN SALE Ar               A SSIGN W N T AGREEW N T sled

w ith the Securitiesand Exchange Com m ission,attest,in pertaining parts, as follow s;

h% ://-    .sec.gov/& chives/edgar/daY 1369175/000114420406034039/v050359 ex99-
l.htm




            M ORTGA GE LOAN SALE Ar              A SSIGNW N T
            AGREEM ENT,datedasofJuly 1,2006 (thettAgreemenf'),is
            executed by and between LEHM AN BROTHERS H OLDING S
            INC (ççlloldings''ortheç<Sel1er'')and StructuredAssetSecurities
            Corporation (the<sDepositor'').
            W IIER EA S,LEH M A N BR O THER S B AN K ,FSB
            (theççBank''),pursuanttothefollowing specifiedmortgageloan
            purchaseand warrantiesagreements(each at% ankTransfer
            Agreem ent,''and togetherwith the LBH TransferA greement,
            thetf-fransferAgreements''),haspm chased orreceivedfrom
            certain transferorsidentifiedbelow (each aççBank
            Transferor,''and togetherwith theLBflTransferor,
            thett-fransferors'')certainmortgageloans,each identified on
            the M ortgage Loan Schedule attached hereto aspartof
            ScheduleA (collectively,theO ank TransferredM ortgage
            Loans''and,togetherwith theLBH Transferred M ortgage
            Loans,the ttTransferred M ortgageLoans''):
            W HEREA S,in addition to the Bank Transferred M ortgage
            Loans,the Balzk hasdirectly underwritten and funded certain
            m ortgageloansoriginated by AURORA LOAN SERVICES
            LLC and othercorrespondentsorotherwisepurchased certain
            m ortgageloansidentified on the M ortgageLoan Schedule
            attached heretoasScheduleB (theççBank OriginatedM ortgage
            Loans''and,togetherw ith the B ank Transferred M ortgage
            Loans,thetçBnnk M ortgage Loansy''and theBank M ortgage

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            Loans,togetherwith theLBH Transferred M ortgage Loans,
            collectivelyreferredtohereinaAerasthettM ortgageLoans'');
            W HEREAS,pursuantto an assigm nentand assum ption
            agreement(the%çAssignm entand Assum ption Agreem enf'),
            dated asofJuly 1,2006,between theBank,asassienor,and
            the Seller,as assienee,the Bank has assiened allofits rieht.
            titleand interestin and to the foregoing Bank Transfer
            A greem ents and related M ortgage Loans as listed on Schedule
            A ,in the case ofB nnk Transferred M ortgage Loans, or
            ScheduleB,in the case oftheBank O rieinated M orteaee
            Loans,and the Sellerhasaccepted the riehtsand beneftsof,
            and assum ed theobligationsofthe Bank under,the Bnnk
            TransferAgreem ents;rem phasisaddedl

            W HEREA S,theSeller desiresto sell,w ithoutrecourse.aIIof
            its riehts.title and interestin and to the M orteaee Loans to
            the Depositor,assign a11ofitsrightsand interesttmdereach
            TransferAgreem entand each Servicing Agreem entrelating to
            the M ortgage Loansreferred to above,otherthan any servicing
            rightsretained by the Sellerhereunder,and delegate a11ofits
            obligationsthereunder,to the Depositor;gem phasisaddedl
            and

            W iIEREA S,the Sellerand the Depositoracknowledge and
            agree thatthe D epositor w illconvev the M orteaee Loans to a
            TrustFundcreatedpursuanttotheTrustAgjeement,assien
            aIIofitsriehtsand delegateal1ofitsobligatlonshereunder1
           theTrustee forthe beneftofthe Certilcateholders,and that
           each referenceherein to theDepositorisintended,unless
           otherwise specitied,to m ean the Depositororthe Trustee.as
           assienee,whicheveristhe ow nerofthe M orteaee Loansfrom
           tim e to tim e.rem phasisaddedl

           N OW ,THEREFORE,in consideration ofthem utual
           agreem ents herein setforth,and for othergood and valuable
           consideration,thereceiptand adequacy ofwhich are hereby
           acknowledged,the Sellerand theD epositoragree as follows:




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            AR TICLE 1.

            CO NVEYAN CE OF M OR TG AG E LO AN S
            Section 1.01. SaleofM ortgage Loans.
            (a) SaleofM ortgageLoans.Concurrentlywith theexecution
            anddeliveryofthisAjreement,theSellerdoesherebytransfer,
            assign,setover,deposltw ith and otherwise convey to the
            Depositor,withoutrecourse,subjectto Sections1.03 and 1.04,
            a11the right,title and interestofthe Sellerin and to the
            M ortgage Loansidentified on SchedulesA and B hereto,
            having an approxim ate aggregate principalbalance of
            $710,883,174.03.Suchconveyanceincludes,without
            lim itation,the rightto a1ldistrlbutionsofprincipaland interest
            received on orw ith respectto the M ortgageLoanson and after
            the Cut-offDate,otherthan paym entsofprincipaland interest
            due on orbefore such date,and a1lsuch paym entsdue after
            such date butreceived priorto such date and intended by the
            relatedMortjagorstobeappliedaAersuchdate,a11Prepayment
            Chargesrecelved on orw ith respectto the M ortgage Loans on
            orafterthe Cut-offD ate,togetherw ith allofthe Seller'sright,
            titleand interestin and to each related accountand al1nm ounts
            from tim e to tim e credited to and theproceedsofsuch account,
            any R EO Property and the proceedsthereof,the Seller'srights
            underany Insurance Polieies relating to the M ortgage Loans,
            the Seller'ssecurity interestin any collateralpledged to secure
            the M ortgage Loans,including the M ortgaged Properties,and
            anyproceedsoftheforegoinj.
            Concurrentlywiththeexecutlonanddelivey ofthisAgreement,the
            Sellerhereby assignsto the Depositora11of1tsrightsand interest
            undereach TransferAgreem entand each Servicing Agreem ent,
            otherthan any servicing rightsretained thereunder,and delegatesto
            the Depositora11ofitsobligationsthereunder,to the extentrelating to
            the M ortgage Loans.The Sellerand the D epositor furtheragree that
            this A greem entincop oratesthe term s and conditions ofany
            assignmentandassllmytionagreementorotherassignmentdocument
            requiredtobeenteredmtounderanyoftheTransferAgjeementstany
            suchdocumentan GAssignmentAgreemenf')and thatthlsAgreem ent
            constim tes an A ssignm entA greem entundersuch Transfer
            Agreem ent,and the Depositorhereby assum estheobligationsofthe
            assigneetmdereach such Assignm entA greement.Concurrently with


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            theexecutionhereotltheDepositortendersthepurchasepriceset
            forth in thatcertain Term s Letterdated as ofthe date hereof, theform
            ofwhich isattachedasExhibitB hereto (theiipurchasePrice'').The
            Depositorhereby accepts such assignm entand delegation, and shall
            be entitled to exercisea11the rightsofthe Sellertm dereach Transfer
            AgreementandeachServicingAjreement,otherthananyservicing
            rightsthereunder,asifthe Deposltorhad been a party to each such
            agreem ent.
            (b) SchedulesofM ortgageLoans.TheDepositorandthe Sellerhave
            agreed upon which ofthe M ortgageLoansowned by the Sellerareto
            bepurchmsed by theDepositorpursuantto thisAgreem entand the
            Sellerwillprepare on orpriorto theClosing D ate aGnalschedule
            describing suchM ortgageLoans(theçtM ortgageLoan Schedule'').
           The M ortgage Loan Schedule shallconform to therequirem entsofthe
           Depositorassetforth in thisAgreem entand to the definition
           ofççM ortgage Loan Schedule''underthe TrustA greem ent.The
           M ortgage Loan Scheduleattached hereto asSchedule A specifies
           those M ortgage Loansthatare Transferred M ortgageLoansand the
           M ortgageLoan Schedule attached hereto asScheduleB specifies
           thoseM ortgageLoansthatareBank Originated M ortgage Loans, each
           ofwhich categoriesofM ortgageLoanshavebeen assigned by the
           Bank to the Sellerptzrsuantto the A ssig= entand A sstlm ption
           A greem ent.



                         Section 1.02. Delivery ofDocum ents. '61
           (a) ln connection with suchtransferand assignmentoftheM ortgage
           Loansheretmder,theSellershall,atleastthree(3)BusinessDays
           priorto the Closing Date,deliver,orcauseto be delivered, to the
           Depositor(oritsdesignee)thedocumentsorinstm mentswithrespect
           to each M ortgageLoan (each aççM ortgageFi1e'')sotransferredand
           assigned,asspecifed in therelated TransferAgreementsorServicing
           A greem ents.




           V'C losing date isJuly 31S*2006;P etitioner's M ortgage Loan w as executed on
           Septem ber 29 2 .


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            (b) ForM ortgageLoans(ifanylthathavebeengrepaidinfull
            onoraAertheCut-ofDateandpriortotheCloslnjDate,the
            Seller,in lieu ofdelivering the related M ortgage Flles,herew ith
            deliversto the Depositoran Officer'sCertificatewhich shall
            include a statem entto the eFectthata11am ountsreceived in
            connection w ith such prepaym entthatare required to be
            deposited in the C ollection A ccotm tm aintained by the M aster
            Servicerforsuch purposehave been so deposited.

            Section 1.03. R eview of Docum entation.
            TheDepositor,by execution and deliveryhereotlacknowledges
            receiptofthe M ortgage Filespertaining to theM ortgage Loanslisted
            on theM ortgageLoan Schedule,subjecttoreview thereofby W ells
            Fargo B ank N ationalA ssociation,Lasalle Bank N ationalA ssociation,
            D eutscheBank N ationalTrustCom pany and U .S.Bank N ational
            Associationasapplicable(each,atf ustodian''and,together,
            theifustodians''),fortheDejositor.EachCustodianisrequiredto
            review ,w ithin 45 days follow lng the Closing D ate,each applicable
            MortjageFile.lfinthecourseofsuchreview therelatedCustodian
            identlsesany M aterialDefect,the Sellershallbe obligated to
            cure such M aterialD efectorto repurchasethe related M ortgage
            Loan from theDepositor(or,atthedirectionofandon behalfof
            theDepositor,from theTrustFundl,orto substimtea
            Qualifying SubstituteM ortgageLoan therefor,in each caseto
            thesam eextentand in the same m annerasthe Depositoris
            obligated to the Trustee and the TrustFund underSection 2.021
            ofthe TrustA greem ent.

450.        A ggregateScheduled PrincipalBalance ofM ortgaged NOTESsold by

STRUCTURED A SSET SECURITIES CORPOR ATION to LASALLE BAN K

N ATION M ASSOCIATION 'STrustee in trustforthe benefk ofCertitk ate-llolder,

identified within the M ORTGA GE LOAN SM E Ae          A SSIGNG NT AGREEG N T,

recorded w ith the Securitiesand Exchange Com m ission isapproxim ately Seven-


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Hundred-Ten-Million-Eil t-Hu dred-Eil l-W ee-n ousM d-one-Hu fed-sevenl-
Fotlr03/100 ($710,883,174.03);
451.        M ortgaged NOTESexchanged by STRUCTURED A SSET SECURITIES

CORPOM TION forDTC held Certifcatesin theam ountofN ine-Htmdred-Fifteen-

M illion-Four-Hu dred-sevenl-Five-Thousand-seven-Hundred-sevenl-Eight

($915,475,778.00),theapproxim antvalueoftheNOW SfoundundertheTRUST
A GREEM ENT aAersaid N o'l'
                          E sisacquired by Trustee;

452.        D ifferentialfound between thevaluesplaced on theNo '
                                                                rEsin exchange

forthe Trust-certitk atesis,an increase ofTwo-Hundred-Fom -M illion-Five-Hc dred-

Ninel-Two-Thousr d-six-Hundred-W ee97/100,($204,592,603.97).


453.        PROSPECTUS SUPPLEW N T,flled with the Securitiesand Exchanged
Com m ission, June 2''d2006,section 5-83,statesin relevantpart;

            aThe Seller'srights undereach SaleAgreem entwillbe assigned by
            the Seller to the D epositorpursuantto the Sale and A ssignm ent
           Agreementand,in turn,assigned by theDepositorto theTrusteefor
           thebeneftofholdersoftheCert6 catespursuanttothe Trust
           Agreem ent''(NOTE;LE         BROTHERSBANK FSB,
            Originatorisnotaparty to thisdocum enttitled PROSPECTU S
            SUPPLEM EN T,asLE                BROTHERS BANK FSB sold allof
            itsrighttitle and interestto SellerJuly 1st2006, (yesterdayl.
                                                                        )




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454.          Controlling-D ocum enttitled M O R TG A G E LO A N SA LE A r

ASSIGNW N T A GREEG NT orPROSPECTUS SUPPLEG N T filed w ith the Securities

and Exchange Com m ission fum ishesaffirm ative intention ofthe party'sto assign

Petitioner'sdebtto said Trust,how everisnotproofofactualassignmentortransferthereof;

455.          Petitioner can notlocate a docum ent show ing conveyance ofsaid debt,

w ith right,title and interestfrom SellerLEHM AN BR O THER S H O LD IN G S IN C

setoverto D epositorSTRUCTURED A SSET SECURITIES CORPORATION ;

456.          Petitionercan notlocate adomlm entshow ing conveyance ofsaid debt

from DepositorSTRUCTURED ASSET SECURITIES CORPOM TION ,to Trustee,

LASALLE BAN K N ATION AL A SSO CIATION in trustforthe benefitofCertifcate-

H older;

457.          Each ofthevariousagreem entsbetween the securitization entitiesstating

thateach Entity had arightto an assignm ent/conveyance ofa11right,title and interest

isnotin and ofitselfan assignm ent,norconveyance,and the agreem entiscertainly not

in recordable form '7l.SeeU S.BankNafionalAssoçiation v.lbanez(2009).
                               .




'71             ARTICLE 1 DEFIM TIONS, TR U ST A G R EEM EN T
Assiznm entofM ortzaze:An assignm entofthe M ortgage,noticeoftransferorequivalent
instrument,k reeordableform,sum cientundertheIawsoftheJurisdictionwherein therelated
M ortgaged Property is Iocated to renect the sale ofthe M ortzaze to the Trustew w hich
assignm ent,noticeoftransferorequivalentinstrum entm ay bein theform ofoneorm ore
blanketassignm entseovering theM ortgageLoanssecured by M ortgaged PropertiesIocated in
thesamejurisdictitm,ifpermitted by law;provided,however,thatnoneoftheCustodiansnor
the T rustee shallbe responsible for determ ining w hether any such assignm entis in recordable
form.Iemphasisaddedl

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458.         PetitionerholdsinhandaScreen-shotC*1ofacomputer'smonitor(hard-

copyvisualrepresentation)oftheBook-Entrydata-baseoftheREM IC titledLEHM AN
X S TR U ST M O R TG A GE PA SS-TH R O U G H CERTIFICA TES,SER IE S 2006-11,

which discloseseithertheTrustee did notreceive Petitioner'sClosing-Docum entsab

initio,or,failed to update the electronic Book-Entry R egistration system indicating

receiptofthedocllm entsw hich evidencesthe debt;

459.        Petitionerholdsin hand a Screen-shotofthe Book-Entry data-base ofthe

REW C,îoundprimafasciaevidencetoshow TrusteeforLEHM AN XS TRUST
M ORTGAGE PA SS-TIIROU GH CERTIFICATES,SERIES 2006-11 isnotin

possession ofany oftheClosing-Docum entsexecuted by thisPetitioner;

460.        failure by Trustee to be in possession ofPetitioner's closing docum entsis a

violation ofNew YorkEstatesPowersandTrustsLaw (tGEPTL'')7-1.18,and in conflict
w ith the Controlling-Domlmentstiled with the Securitiesand Exchange Com m ission;

seeKem p v.CountrywideHomeLoans,lnc.(2010).
461.        TRU ST AGREEM ENT m andate,in parq aN OTE mustbetransferred and

delivered with an unbroken chain ofendorsem entsfrom theOriginatorto all

intervening partiesw ith the finalSpecial-lndorsem entto theTrustee .




462.        The Law ofA ssignm ents isprovided forby A rticle 9 ofthe U .C .C .,bu1is

superseded by the TRU ST A GREEM ENT,in part,asfollows;




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            (b)      ln connectionwith such transferandassignment,the
            Degositordoesherebydeliverto,anddepositwith,orcausetobe
            dellvered to and deposited w ith,theTrustee,and/ortheapplicable
            Custodian acting on the Trustee'sbehalf,the following docum entsor
            instrumentswith respectto each M ortgageLoan (each a ''M ortgage
            File'')sotransferredand assigned:

             (i)     withresgecttoeachMortgageLoan,theoriginalMortgage
            N oteendorsed m thoutrecourse in properform to the orderofthe
            Trustee,asshown onExhibitB-4hereto,orin blnnk (111eachcase,
            with al1necessaryintervening endorsements,asapplicable)orwith
            respectto any lostM ortgageNote,alostnoteafsdavitstating thatthe
            originalM ortgage Note waslost,m isplaced ordestroyed,together
            w ith a copy ofthe related M ortgage N ote:


463.        W hen assetsaretransferred to a New York Trust,therehasto be actual

delivery in asperfecta m anneraspossible,am ere recitalisineffective;

464.        The July 1't2006 constm ctive assignm entofPetitioner'sN O TE , orothers

sim ilarly situated to LEHM AN XS TRU ST M ORTGAGE PASS-THROU GH

CERTIFICA TES,SERIES 2006-11withoutthe actualtransferofsaid Prom issorp No 'rE

isanullity.M errittv Bartholiek 36N.Y 44(1867)9Kiugev.Fugazy,145A.D.2d 537
(1988).
465.        How ever,appearing on thepublic record isa Verified colorable

Assignm entfrom LEHM AN BROTHERS BAN K FSB,assigned directly to AURORA;

466.         assigned directly to A U R O R A ignoring the aforem entioned interm ediate

Assignees,caused a break in the Chain-of-Title.




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467.        BogusAssigrtment(ExtrinsicFraud)used asprimafasciaevidenceto
show an interestin Petitioner'sproperty,orBogusA ssignm entonce recorded thereaAer

used againstanotherAmericanasprimafascia evidence,isan actoflntrinsicFraud;
468.        BogusAssignm entdone by avarice isalso attempted Larceny;as,

469.        LEHM AN BROTHERS BAN K FSB negotiated Petitioner'sN OTE w ith

som eone otherthan A URORA ab initio,asseen by the Special-lndorsem entfound on

the copy ofthe alleged N O TE A UR O R A presented as itsExhibitin Case N O .09-CA -

017057;

470.        A U RO R A isnotnow ,norever w as the Real-partp in-lnterestin relation to

Petitioner's debtin question'
                            ,also,

471.        A U RO R A is notnow ,norever w as H older-in-D ue-c ourse in relation to

Petitioner's debtin question;

472.        AURORA admitsin# a,itisnottheCreditor'
                                                 ,assuch,


473.        A IJRO R A iscom m itting,orhascom m itted an Act,orActsofIntrinsic

Fraud in each Foreclosure w herein LEH M A N B R O TH ER S BA N K FSB is the

O riginalL ender,A U R O R A is Servicer,and thereafter A U R O R A com m ences a

Foreclosure A ction in its ow n nam e for its ow n benelt,appearing as the Plaintiff

C reditor or M ortgagee ofrecord,after Septem ber 15t:ctlts .




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474.        M ER S* originally appeared on public record asM ortgagee, asN om inee

forLEHM AN BROTH ERS BAN K FSB, how ever,< RS*is notNom ineefor

LEHM AN XS TRU ST M ORTGAGE PASS-TG OU GH CERTIFICATES,SERIES

2006-11;as,

475.        LEHM AN X S TRU ST M O RTG A G E PA SS-THR O U G H CER TIFICA TES,

SERIE S 2006-11 is nota M ER S* M em ber;m oreover,

476.        LEHM AN XS TRU ST M ORTGAGE PASS-THROU GH CERTIFICATES,

SERIES 2006-11iswithoutan agency agreem entwith M ERS* butisthe registered

HolderofPetitioner'sdebt,and otherAm ericanssim ilarly situated pursuantto the

TR U ST A G R EENG N T;

477.        A ssignm entofPetitioner'sdebt,and those ofothers sim ilarly situated from

LEHM AN BROTHERS BAN K FSB to AURORA isfabricated in partby THEOD ORE

SCHU LTZ , Certifying O ffcer ofM ER S*,a/k/a V ice PresidentofM ER S*;

altem atively,

478.          THEODORE SCHU LTZ isan em ployee ofAUROM ,occupying the

OfficeofA ssistantV icePresidentofAURORA;

479.        THEOD ORE SCHULTZ,A ssistantV icePresidentofAURORA holds

Superior-Knowledge,to aforem entioned Controlling-Docum ents;

480.        THEOD ORE SCHULTZ A ssistantV icePresidentofAU RORA used a
Stam p /Sealissued by alleged co-conspiratorM ER S*, to sea1the deal,atleastin form ;



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481.        THEOD ORE SCHU LTZ Acting in the capacity ofCertifying O fficerfor

M ERS*, as G rantor/Assignorauthorized theassignm entofPetitioner'sM ortgageand

N O TE to THEO D O RE SCH U LTZ'S em ployer,the G rantee /A ssignee A U R O R A ;

482.        THEODORE SCHULTZ ignored a1loftheintervening (off-record)
aSSignments,asthese(off-record)assignmentsdonotappearon theM ERS*system ;as,
483.        theseintervening (off-record)assignmentsdonotappearontheM ERS*
system forwantofa successoridentiGed asa M ERS*M em ber;as,

484.        < RS* 1acksthe legalcapacity to assign beneficialinterestin a thing it

doesnotown orhold,absentactualpossession and Power-of-Attom ey,orsim ilar

authorization in w riting from the Lender,its successor,orassignee thereof.

485.        FloridaForeclosure law requiresthatalIsuccessive transfersofthem ortgage

berecorded priorto foreclosure;seeTitleXl,,Realand PersonalProperty Section

701.02;AUROR A etal.,AUROR A know sthisto betrue,orshould know sam e.

486.        O n or shortly afterM arch 24tb2010 petitioner received a letter 9om K ahrl

W utscher LLP,a law Firm ,alleged to representA U R OR A ,inform ing Petitioner G...

thecurrentownerofthedebtis:LEHM AN BROTHERS H OLDINGS INC 745
Seventh Wve-,fkFloor,New York,N F 10019.''SeeçtExhibitl'' pg 2 of5, 6thpar,

hereto attached and incom orated herein by reference;w herein,




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487.        K ahrlW utscherLLP,a law Firm ,alleged to representA U R O R A ,discloses

onpagefour(4),ççExhibitl''AURORA isG...thecurrentservicer,masterservicer
and/orsub-servicerofthisloan and thatthecurrentowneroftheloan isident6 ed in
the /ex/box disclosures above-''

488.        Then again on Septem ber 1St2010 in responseto Petitioner'squestion;

HWho isAURORA LOM SER VICES LLC servicing theabove-referencedaccount
for?''response;T..thecurrentownerofthesubjectloan ...nameofthecurrent
ownerofthedebtis:LEHM AN BROTHERS H OLDIN GS INC 745Seventh Wve,fh
Floor,N ew York,N F 10019.''See tçExhibitJ''hereto attached and incop orated herein

by reference.

489.        LEHM AN BROTHERS HOLDW GS INC,(tmderBanknmtcyprotection)
isanon-party in CaseNumber09CA 017057division AW taetiveforeclosureaction
againstPetitionerherein),inparqthecauseofthisaction'
                                                   ,then,
490.        on M ERS* web-site,fçhdps://-        M ERs-se> icerid.orFsis/'',M ember
                                                 .




ldentification Number(HM lN '')1000254-4000339538-8,asthisnumberappearson
Petitioner's alleged M ortgage,returns a disclosure identifying A U R O R A BAN K FSB

aslnvestor/O w nerofPetitioner'salleged debt, on July 26th2011;see ççExhibitK ''

hereto attached and incom orated by reference;

491.        On M ER S* web-site, M m 1000254-4000339538-8 identifiesAURORA

LOAN SERVICES LLC asthe Servicerofthisalleged debt.



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492.        ldentifiednow isfour(4)Entitiesclaim ing owner-ship interestandrightto
Petitioner'salleged debt,orisregistered assuch;AUROR A LOAN SERVICES LLC

(Servicer,now registered asM ortgagee/Beneficiary),LEHM AN XSTRUST
M ORTGAGE PASS-THROUGH CERTIFICATES SERIES 2006-11(Foreign @ ew
York)Unincorporated-Association,orA ContractualOrganization withoutStandingin
theStateofFlorida),LEHM AN BROTHERSHOLDINGS INC (underBankruptcy
protection,asofSeptem ber15th2008),andAURORA BANK FSB f/k/aLEHM AN
BROTHERS BAN K FSB,em erging 9om Banknm tcy.

493.        Itisthe duty ofM akerto verify paym entreachesthetrue Owner-l-lolderof

an alleged debt,Powersv.W oolfolk,132 M o.App.354,111 S.W .1187;H offm aster

v.Black,78 Ohio St.1,84N.E.423,21L.R.A.(N.S.)62,125Am.St.Rep.679,14
Ann.Cas.877;Baxterv.Little,6 M ete.(M ass.)7,39 Am .Dee.707.
494.        M onthly M ortgage-paym entfrom a M akersetoverto AU ROR A is

ineffective fnding allinterested partiestm derBankruptcy protection,M akerlooking for

evidenceasto aknow n Holderand Ow nerofM aker'sN OTE,orAgentthereof;

M arlinev.Nonimensen,127W is.363,106N.W .844,5 L.R.A.(N.S.)412,115
Am .St.Rep.1017,7 Ann.Oas.364 ;Baum eartnerv.Peterson.93 Iow a,572,62 N .

W .27 ;Burhansv.llutcheson,25 K an.625,37 A m .R ep.274;Birketv.E lw ard,f8

K an.295,74 Pac.1100,64 L.R .A .568,104 A m .St.R ep.405,1 A nn.C as.272;




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Sm ith v.Lawson,18 ïV.Va.212,41 Am .Rep.688 ;Carpenterv.Lonean,16 W all.

271,21 L.Ed.313;Sw iftv.Bank ofW ashineton,114 Fed.643,52 C.0 .A .339;as,

495.       Petitionercom esto find LEHM AN XS TRU ST M ORTGAGE PA SS-

THR O U G H CER TIFICA TES,SER IES 2006-11 is a Phantom -Entity to the extentitis

notregistered within the State ofN ew Y ork,Delaware,orFlorida,norisitregistered

anm here w ithin the com orate U M TED STA TES;m eans,

496.        it(thisPhantom-Entity)isnotaperson,asthatterm isdefined;
497.        only a person has the capacity to be a H older;

498.       Pursuantto Florida Statute,any legally recognized person can be aholder

in duecourse,j673.3021Fla.Stat.;A tiholder''isdefined asGplheperson in

possession ofanegotiableinstrumentthatispayableeitherto bearerorto an
ident6 edperson thatistheperson inpossession,''j673.201(21)(a)Fla.Stat.


499.       A rtificialPerson.An entity,such asa corporation,created by 1aw and
           given certain legalrightsand dutiesofahum an being;abeing,realor
           im aginary,who forthepum ose oflegalreasoning istreated m ore orlessas
           ahum an being.*An entity isaperson forpurposesoftheDue Processand
           EqualProtection Clausesbutisnota citizen forpup osesofthePrivileges
           andImmunitiesClausesinArticlelV,j2,and intheFourteenth
           Amendment.- Alsotermed Gctitiousperson;juristicperson;juridical
           pe
           C rson;legalperson;moralperson.Cf.LEGAI,ENTITYtû(Cases:
            orporations1.1(2).C.J.S.Corporationsj2.1 Black's8 Edition pg
           3619.




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500.         O nly an entity existing as realor legally created person tm derthe 1aw is

capable ofbeing a H olderin the State ofFlorida;

501.         A pledge or subsequenttransfer ofPetitioner'sM ortgage-N o -l'
                                                                          E ,orothers

sim ilarly situated,to LEHM AN X S TRUST M ORTGAG E PA SS-THROUGH

CER TIFICA TES,SER IES 2006-11,a Phantom -Entity w hich doesnotlegally exist

w ithoutthe State ofNew York,lacksStanding w ithin Florida;howeverptlrsuantto,

502.         TRUST AGREEG NT (law ofthecase)LEHM AN XS TRUST
M ORTGAGE PASS-THROUGH CERTIFICATES,SERIES 2006-11isregistered as

HolderofPetitioner'sdebt,and thedebtofotherAmericanssim ilarly situated,as

collateralinterestofM ortgage-Backed Securities;whereas,

503.         DTC 'SCertitk ate-llolderisthetrue Benetk iary,Real-partp in-lnterest;

504.         Real-partp in-lnterestbased on thefacttheCertificate-llolderisthe

investor,hard m oney lender,and ultim ate taxpayer on the gain;how ever,

505.         TR ISt-certitk atesare custom arily held in the Street-N am e01ofCEDE & Co.

506.         M ERs*and CEDE & Co seem to function in a sim ilarrespectin so faras

bothprovidean electronicregistry (no paper)which identifiestheCreditor(privately);
507.         M ERS* and CEDE & Co areboth Bankruptcy rem oteentitieswhich hold

property asNom inee foran undisclosed third party Principal,placing a cloud on

Petitioner'sTitle,and others sim ilarly sim ated.




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 508.        Petitioner'sresearch haslead to thediscovery ofthisPhantom -Entity,

 w hich isa Com puter-Book-Entrp system !*1,titled CCLE       X S TRUST 2006 11,''
                                                                             -




 analogousto aM icrosoA* E xce1* Electronic-spread sheet,subcategorized by Classes,
                                                     -




 orTranches(*1,.

 509.         LEHM AN X S TRU ST M ORTGAGE PA SS-THROUGH CERTIFICA TES,

 SEM ES 2006-11,containstwentpfour(24)suchClasses,orTranches;
510.         Petitionerhaspersonally reviewed allthe Synthetic-N oW sheld in each

Class,orTranche,foundthedebtin question,found within fiûeen(15)ofsaidtwentp
four(24)Classes,orTranches;
511.         Petitionerfoundthedebtin question cloned tiAeen (15)tim esatfullface
value,each cloned Synthetic-Nou bearsatmiqueCUSlP-Numbe/*1identifying
differentclassofsecurities.

512.         Each Class,orTranche holding Petitioner's alleged debtatfullface value

and corresponding CU SIP Num berisasfollow s;

            Class/Tranche titled Pd 1A 1 CUSIP N umber52522+ 4A 7;

513.        Class/Tranche titled 1A2 CU SIP N um ber52522W A 85, isw holly owned

by M aiden Lane 11LLC.See A SSET PURCHA SE AGREEW N T dated Decem ber 12,

2008;found atthis follow ing link,

http://-    -w iM nvest.com /stock A m erican- lnternational G roup tAlGlY ilinF lo-
                                                          -       -

Q/2010+ x-10.3+ 9973547 ;



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514.        Class/Tranchetitled 1A 3 CU SIP Num ber52522+ AC3,iswholly owned

by M aiden Lane 11LLC ,See A SSET PU R CH A SE A GR EEW N T dated D ecem ber 12,

2008 supra,and AM ERICAN INTERN ATIONM            GROUP IN C - FORM 8-K - EX -

99.1- M arch 10,2011;found atthefollowing link,

http://-   .faqs.orFsec-nIings/110310/AM ERlCAN-> TEM ATIONAL-
G RO UP-IN C 8-K/y90210exv99w1.htm ;

515.        wherebytheCurrentoutstanding balanceofjustthesetwo mentioned
tranchesbeing purchased by AW RICAN INTERN ATIONAL GROUP IN C isTwo-

H> derd-œ e-M illion-Ninel -Eil t-Thous= d-Five-Hu & ed-Fië -Nine00/100,
($201,098,559.00);
516.        NOTESoriginally valued atapproxim ately Seven-lltmdred-Ten-M illion-

Eil t-Hundred-Eil l-Teee-n ousrd-œ e-Hu &ed-sevenl-Fom 03/100
($710,883,174.03),isnow valued (consideringtherearetwentpfour(24)Tranches)at
overTwo-Billion ($2,000,000,000.00)asaBallPark figure;
517.       Class/Tranche titled Pd 1A4 CU SIP Num ber52522W M 71;

518.       Class/Tranchetitled PdM 1CU SIP N um ber52522W AJ8;

519.       Clmss/Tranchetitled Pd M 2 CUSIP Number52522+ AK 5;

520.       Class/Tranchetitled Pd M 3 CUSIP Number52522W M 3;

521.       Class/Tranchetitled Pd M 4 CUSIP Num ber52522W AM 1;

522.       Class/Tranchetitled Pd M 5 CU SIP Num ber52522+ AN9;

523.       Class/Tranchetitled Pd M 6 CU SIP Num ber52522W M 4;

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524.         Class/TranchetitledPdM 7CUSIP Number52522W AQ2;
525.         Class/Tranchetitled Pd M 8 CU SIP Num ber52522+ AR0;

526.         Class/Tranchetitled Pd M 9 CU SIP Num ber52522W A 58;

527.         Class/Tranchetitled Pd M 10 CUSIP N um ber52522+ A16;

528.         Class/Tranchetitled Pd P CUSIP Num berBCCOS65M 3;

529.         TheCodeiT d''m eansççpaid Down.''

530.         Seven-Hu dred-Ten-M illion-Eil t-Hundred-Eil ty-Tkee-n ousr d-one-
Hundred-seventy-Fotlr03/100($710,883,174.03),overathirtyyearperiodwillmost
likelynotgenerateTwo-Billion ($2,000,000,000.00)plusinterestin cash-flow;ergo,
531.         Trustwasdestined to failovertim e,butnotuntiltheTrustacquired cash or

equityfrom theinvestorts),up-frontCs;
532.         LEHM AN XS TRU ST M ORTGAGE PASS-THRO UGH CERTIFICATES,

SERIES 2006-11createdenoughTrust-certificatesla/k/aBONDS a/k/aSecurities)of
Petitioner'sN OTE in pm icularto appearfifteen tim esatthestated m onetary facevalue

ofthe genuine N O TE w hich M akercreated atClosing and setoverto LEH M AN

B RO TX R S B AN K FSB in trust;

533.         STRUCTURED A SSET SECURITIES CORPOM TION appearsto be

acting in the same capacity asaBAN K ,fractionalizing itsHoldings, using said

H oldings as a reserve for leverage.

534.



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535.         Petitionerholdsin hand a Screen-shotofeach one ofthe fifteen Tranches

which contain the identicalSynthetic-N o'rE cloned from the genuineN OTE Petitioner

signed,atfullfacevalue,(becauseofthesoftwarelicensingagreementPetitionercan
notvolunteerthesescreen-shotsasevidence atthistime,unlessordered to do so by this

Court,orbywayofaDiscoveryRequest);
536.         A lG hasrecently m ade an offerto M aiden Lane 11 LLC,to purchase tw o of

Petitioner'scloned Synthetic-N oW sassociated with CU SIP Num bers 52522W A85

and 52522+ AC3,purchased from theFederalReserve Bank ofNew York,third party

Purchase-M oney-M ortgaget*1,paying down M aiden Lane11LLC'Soutstanding debt.

537.         A once Secured-N oTE,M onetized,Securitized,Fractionalized and now

perhapssubrogatedinpartby M G from theFederalReserveBnnk ofNew York (non-
M ERS* M em ber),raisesthearpxment,thereisnolongeraHolder-in-Due-cotlrse;See

dçExhibitQ''Explanation-of-secudtim tion,hereto attached and incomorated hereinby
reference.

538.         M G willowntwo-tiAeens(2/15)ofPetitioner'salleged debt,but
dischargetwicethefacevalueoftheNOTE;SeeU.C.C.j3-203.TRANSFER OF

INSTRUG NT;M GHTS ACQUIRED BY TM NSFER;thekansfereeobtainsno
rights underthis A rticle and has only the rights of a partialassignee, w hich w ould

exclude subrogation;however,




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539.         M G isnegotiating to purchase Petitioner'sassetfotm d underboth CU SIP

N um bers52522+ M 5 and 52522W AC3,in which each CU SIP Num bercontainsa

Synthetic-N o'rE cloned from thegenuineNOTE,created by PetitionerasBorrower/

M aker/Donor,each N OTE atfullfacevalue,paid foratone-hundred centson the

dollar,tim estw o,by an lnsurer/Investor;or,

540.         GenuineNOTE was a...deliberateV eliminated toavoid confusion ...''
ab initio upon itsdigitalm etam om hosisinto aM ortgage-Backed Seourity,hypothecated

forTrust-certificatesin m ultiplesoftheunderlying appraised value ofthe collatem lized

interest;thereaAer,

541.         January 26th2007 SeniorV ice President, M ichaelH itzm ann,for Structured

AssetSecuritiesCom oration,asdepositorforLEHM AN X S TRUST M ORTGA GE

PA SS-THROUGH CERTIFICATES,SERIES 2006-11,Beneficiary oftherevenue

generated from theTrustCertiticatesa/k/aBOND S a/k/a Securities,filed aForm 15-D

with the Securitiesand Exchange Com m ission,notifying theworld ofitscessation of

doing any additionalbusiness;

542.         PetitionerallegesSTRUCTURED ASSET SECURITIES

CO R POR ATIO N ,exchanged Petitioner's M ortgage-N o -rE,and otherssim ilarly

situated forsaid Trust-certitk ates,Securities/BOND S which itsold to investors, in

m ultiplesoftheN OTE'Soriginalface value,cashed in and closed-up shop within seven

(7)months.


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543.         Underthe IN VESTG N T COO AN Y A CT OF 1940,LEHM AN XS

TRUST M ORTG AGE PASS-THROUGH CERTIFICATES,SERIES 2006-11

recording Form 15-D,January 26th2007,isconsidered on thatdate, by the Securities

and ExchangeComm ission to be an U nreeistered Investm entCpm panv;supra,

544.         Foreir -um egistered-lnvestm ent-com pu y lacksthe capacity to sue in the

StateofFlorida,no Standing,and isnotan injuredparty,supra;furthermore,
545.         U c egistered-lnvestm ent-c om pu y lacksthe capacity to A ssign

Petitioner'sNOTE,and those ofotherssim ilarly situated aheritsClosing-Date;

546.         Uv egistered-lnvestm ent-compr y lacksthe capacity to A ssign

Petitioner'sN OTE,and theN OTESofotherssim ilarly situated to AUROR A, ptlrsuant

to the Controlling-D ocum ents,and N ew Y ork TrustLaw .

547.        Furtherm ore,DefendantLEHM AN BROTHERS BAN K FSB orthe Real-

Lenderstillholdstheliability ow ed to theM akers,fordepositoftheirN OTES;as,

548.        LE          BROTHERS BANK FSB etal.,negotiated Petitioner'sN OTE,

and thoseofotherA m ericanssim ilarly sim ated,which ultimately isem ployed to fund

said lnvestm ent-c om pany;assuch,

549.        Petitioner,and otherssim ilarly sim ated areundisclosed investors, by

externality,Third-partp B enefk iaries;as,

550.        Petitionerand otherssim ilarly sim ated hold a Possessory-lnterestin their

respectiveNOTE,seeU.C.C.53-306.


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551.         Petitioner'sN OTE,and theN OTESofotherAm ericanssim ilarly sim ated

which wasnegotiated betw een LEI'
                                IM AN BRO THERS BAN K FSB and LEI'
                                                                 IM AN

BROTHERS H OLDING S INC isdischarged w ith respectto LEHM AN BROTHERS

B        FSB,ab initio,asatruesale,(U.C.C.53-31l);thereafter,
552.         LEIIM AN BROTHERS HOLDINGS INC acting in the capacity asA ssignor

constm ctively A ssigned Petitioner'sNOTE,and the NOTESofotherssim ilarly situated to

said Investment-company,by w ay ofSTRUCTURED ASSET SECIJRITIES

CORPORATION ,asatrue sale,discharged M akers'debtwith respectto LEHM AN

BROTH ERS HOLD W GS m C;

553.         STRUCTURED A SSET SECURITIES CORPOM TION 'Sdebtwas

discharged upon receiptofDTC held Trust-certificates,sold to Trust-certitk ate-

Holderlsj;
554.         DTC Trust-certifk ate-Holder'sdebtwasdischarged byway ofPetitioner's

futuretax obligation,and the tax obligation ofotherAm ericanssim ilarly sim ated,

known asTROUBLED ASSET RELIEF PROGRAM ,CçTARP'');
555.         Congressvoted forthe tçbailouts,''w hich are actually buy-backs,to use

publicmoney(and morefundsborrowed from theFederalReserve,16Trillionpm suant
totherecentauditoftheFederalReserve)topurchaseback thebadpaperandcoverthe
creditswaps,dropping the costofSTRUCTURED A SSET SECURITIES

CORPOR ATION 'S scam onto the Am erican people;



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